     Case 1:15-cv-06119-AJN-JLC Document 242-2 Filed 02/10/17 Page 1 of 19



CIVIL COURT OF THE CITY OF NEW YORK
COUNTY OF NEW YORK
                                                               Index No. L&T 63974/2014
-----------------------------------------------------------X
MARINERS COVE SITE B ASSOCIATES,
                                                               NOTICE OF
                                Petitioner,
                                                               CROSS-MOTION
         -against-
                                                               By Steven Greer,
DR STEVEN GREER
                                                               represented pro se
200 RECTOR PLACE 35F
                                                               (212) 945-7252
NEW YORK, NEW YORK 10280

                                 Respondent
---------------------------------------------------------X

         PLEASE TAKE NOTICE, that upon the annexed affidavit of Steven Greer sworn to on

October 12, 2016, Respondent Greer will cross move this court at the Housing Part F, room 830,

at the Courthouse located on 111 Centre Street, New York, New York on 24th day of October,

2016 at 9:30 AM, or as soon thereafter as counsel can be heard, for orders to: (a) Dismiss the

motion for legal fees, (b) Dismiss the motion to withdraw the $44,135 in the city clerk account,

(c) Require the Petitioner to refund respondent’s $3,395 security deposit, (d) Award direct

damages to respondent for the costs related to defending against the frivolous and malicious

motions and debt collection, (e) Apply sanctions against the frivolous and malicious motions, (f)

Require any future motions from Petitioner to first be approved by this Court, (g) other relief as

deemed appropriate and necessary by this Court.

Enter:
_________________________________


J.S.C.
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CIVIL COURT OF THE CITY OF NEW YORK OF
NEW YORK                                                       Index No. L&T 63974/2014
-----------------------------------------------------------X
MARINERS COVE SITE B ASSOCIATES,
                                                               AFFIDAVIT IN OPPOSITION AND
                                                               SUPPORT OF CROSS-MOTION
                                Petitioner,

        -against-
                                                               By Steven Greer,
                                                               represented pro se
DR STEVEN GREER
200 RECTOR PLACE 35F
NEW YORK, NEW YORK 10280

                                 Respondent
---------------------------------------------------------X

STATE OF NEW YORK
COUNTY OF NEW YORK

                                       SUMMARY OF THE FACTS


        1.      This instant motion brought by Petitioner, Mariners Cove Site B Associates

(“Mariners”), is part of a larger case that is a textbook example of retaliatory eviction, violating

RPL§223-b. I was neither behind in rent nor causing any trouble in the building at 200 Rector

Place where I had lived for 14-years when Petitioner chose to not renew my lease, citing no

reason whatsoever in the original petition other than the fact the building was a market-rate

condominium allowing them to do this at will (Exhibit A).

        2.      However, my critical investigative journalism on the news site BatteryPark.TV

was threatening to the Battery Park City Authority (BPCA) and to the Petitioner.

        3.      As a result, they conspired to have my lease not renewed in early 2014 (the BPCA

is the landlord to the Petitioner, Mariners, and they have close ties).

        4.      A federal judge ruled on September 30th, 2016 that this conspiracy charge is

credible and denied the motion to dismiss (Exhibit B).
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       5.      I owe Petitioner no money whatsoever, either for rent, fair use, or legal fees.


                          THE DOCTRINE OF LAW OF THE CASE,
                       RES JUDICATA AND COLLATERAL ESTOPPEL
                  BAR PETITIONER’S APPLICATION FOR ATTORNEYS FEES
                       AS THE COURT HAS PREIOUSLY REJECTED IT

       6.      In the motion filed by lawyer Deborah Riegel, a request is made yet again for

legal fees, despite that the fact that the same motion has been rejected by previous judges.

       7.      On March 13th, 2015, Judge Hahn clearly rejected legal fees (Exhibit C). Then

again, on January 28, 2016, Judge Milin also denied Petitioner’s motion for legal fees (Exhibit

D). Petitioner’s lawyers are now trying to relitigate old motions. The doctrine of law of this case,

res judicata and collateral estoppel bar Petitioner’s request for legal fees as various courts have

previously rejected it.


                          PETITIONER MISSED THEIR OPPORTUNITY
                           FOR A PROPER APPEAL OF LEGAL FEES

       8.      Moreover, if lawyer Riegel had disagreed with the orders denying legal fees, she

should have filed a notice of appeal within 30-days from service of a copy of the order and

written notice of entry, as required by NY CPLR §5513(a). Then, per 22 N.Y.C.R.R.

§640.6(a)(1), they had thirty (30) days after the filing of the notice of appeal to procure the

clerk’s return and as per 22 N.Y.C.R.R. §640.6(a)(3) within sixty days (60) days after the filing

of return they should have noticed the appeal for argument. Petitioner’s time to do so has

expired.

       9.      On April 30th, 2015, lawyer Bodoff filed a Notice of Appeal (Exhibit E) of the

Judge Hahn order denying legal fees, but abandoned the motion and never perfected it. For the

January 28th, 2016 order by Judge Milin, no attempt whatsoever was made to appeal.
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        10.     Only during my failed attempts to appeal the order granting Petitioner occupancy

of the apartment did lawyer Riegel make any reference to legal fees, in their opposition papers

filed on March 4th, 2016, in the Appellate Term (Exhibit F). However, the court denied their

motion for legal fees.

        11.     I also tried to appeal the eviction in the Appellate Division, and in lawyer Riegel’s

opposition papers on March 30th, 2016, there was no attempt to claim legal fees (Exhibit G). The

legal team had clearly given up after numerous rejections by the courts.

        12.     Moreover, the time has expired too on those appeals courts motions for the

lawyers to now attempt to drag up, once again, the matter of legal fees.


                               A PREVAILING PARTY HAS NOT
                                  YET BEEN DETERMINED


        13.     Section 17(E) of the lease (Exhibit H) requires a prevailing party before any

consideration of legal fees. It specifically states:


        Owner's right to legal fees in a lawsuit is conditioned upon whether Owner has
        substantially prevailed in that lawsuit. "Substantially Prevail” for the purposes of
        determining entitlement to legal fees, (where money is the primary issue in
        dispute) will be considered as having been awarded an amount by a court equal to
        at least 80% of the amount sought In the Initial demand for a liquidated amount in
        the litigation.


        14.     This case is not ripe and there is no “prevailing party” yet due to the ongoing

plenary action in federal court. As allowed by multiple decisions/orders from this Court granting

me the right to pursue “plenary actions”, I am now pursuing claims of retaliatory eviction and

violation of First Amendment rights by the real estate defendants, as part of a plenary action in

federal court (Greer v. Mehiel, Mariners Cove Site B Associates, et al, 15-cv-6110, Southern
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District of New York). That case survived the motion to dismiss and pre-trial hearings are

scheduled.


                         THIS IS THE WRONG CASE NUMBER
                      FOR PETITIONER TO ASK FOR LEGAL FEES


       15.     The lease also stipulates that legal fees only can be awarded “where money is the

primary issue in dispute” in the original lawsuit. In this instant case number of 63974/14, the

original Notice of Petition Holdover Dwelling filed on May 21, 2014 (Exhibit A) did not ask for

“money” because no money was due. I had paid all rent and fair use owed at the time this

petition was filed.

       16.     Since the petition was a pure act of illegal retaliatory eviction, Petitioner had no

leg to stand on if they had asked for “money”.

       17.     Moreover, in a totally separate lawsuit in this Court filed on April 9, 2014,

Mariners v. Greer, under the Index# 61405/2014, the money issue was raised and I subsequently

paid off the amount of rent that I had been withholding, preparing to place it into an escrow

account anticipating this litigation. The $10,937 asked for in that separate case was paid to the

clerk before any judge was assigned and that matter was never heard before a judge during a

bench hearing (Exhibit I).

       18.     On February 26th, 2015, Judge Hahn denied my motion to merge the two cases

(Index# 61405/2014 and 69374/2014), and the cases remained separate.

       19.     Therefore, per the terms of the lease, if Petitioner had wanted to pursue legal fees,

only case number 61405/2014 asked for “money” and was eligible for legal fees. However,

Petitioner never requested legal fees in that case and the time has long since expired for them to

do so now.
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                            THE MOTION FOR LEGAL FEES
                            IS FRIVOLOUS AND MALICIOUS

       20.    This request for legal fees is clearly a frivolous and malicious desperation

attempt, added on to the other motion to collect the $44,135 deposited by me into the city

account, per court order (Exhibit J). Lawyer Riegel knows fully well that I no longer live in New

York, but rather Ohio now, and is hoping that I will not be able to properly defend myself

without expending considerable money.

       21.    Despite knowing that I owe them no money, on August 25th, 2016, employees of

the Petitioner (i.e. Milford Management, a company owned by Howard Milstein who is also the

petitioner) filed a purely frivolous and harassing claim with a debt collection agency, DBF

Collection Corp., for $44,135, despite me having already paid this amount into the city clerk’s

account.

       22.    DBF Collection Corp. promptly dropped the case when I provided them the

details of my payment of the $44,135 to court (Exhibit K).


                     THE BULK OF LEGAL FEES WERE CAUSED
                 BY PETITIONER’S OWN LAWYERS’ MALPRACTICE


       23.    In addition, even if the lawyers for Petitioner were still able to request for legal

fees, which they are not, the vast majority of legal expenses were caused by their own

incompetence. The original lawyer in the instant case, Jeffrey Bodoff, who served as the lead

counsel for Petitioner from approximately March of 2014 until August of 2015, was fired, never

to appear in court again. He was replaced by Deborah Riegel on August 9, 2015.

       24.    The protracted legal course in this Court was caused solely by Mr. Bodoff’s

repeated requests for adjournments. I never asked for a single adjournment.
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       25.       In ¶¶12-35 of the Riegel Affirmation, she lists an incomplete series of docket

motions and events, strategically omitting key facts that show how lawyer Bodoff requested

numerous adjournments, dragging on the case for almost two-years. Sequences omitted by

Riegel to mislead this Court are, inter alia:


       •      2014, June 25th- Petitioner's lawyer Bodoff adjourned the case to August 7th
       because he was not prepared. Judge Hahn granted his request.
       •      2014, August 7th- Petitioner's lawyer Bodoff once again adjourned the case to
       September 18th because he was not prepared for court.
       •      2014, September 29th- Judge Hahn dismissed Petitioner's motion because it was
       not properly served.
       •      2014, November 13th- Judge Hahn finally heard our oral arguments.
       •      2015, May 1st- Judge Hahn had rotated out of the part of the court handling the
       case. New, Judge Wendt adjourned the matter to June 26 so that Judge Hahn might
       continue on with the case.
       •      2015, June 26th- Paperwork from the clerk office did not make it to the
       courtroom. Judge Kraus was filling in for Judge Wendt, Lawyer Bodoff adjourned the
       matter until August 10.
       •      2015, August 10th- Judge Wendt recused himself from the case from unknown
       reasons.

       26.       Based on those courtroom actions listed above, omitted by lawyer Riegel in her

affirmation, the Court can now more easily see how events beyond my control extended this case

from June 25, 2014, until August 10, 2015, or 14-months. Whether intentional or due to

malpractice, the lawyers were clearly inflating their billable hours thinking that I would be on the

hook for them.

       27.       As Court of Appeal held in A. G. Ship Maint. Corp. v. Lezak, frivolous litigation

is so serious a problem affecting the proper administration of justice, the courts may proscribe

such conduct and impose sanctions in this exercise of their rule-making powers, in the absence of

legislation to the contrary. A. G. Ship Maint. Corp. v. Lezak, 511 N.Y.S.2d 216, 219, 69 N.Y.2d

1, 6, 503 N.E.2d 681, 684 (N.Y. 1986).

       28.       22 N.Y.C.R.R. 130-1.1 provides, in pertinent parts as follows:
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               “. . . [T]he court, in its discretion may impose financial sanctions upon any
               party or attorney in a civil action or proceeding who engages in frivolous
               conduct . . .. [C]onduct is frivolous if (1) it is completely without merit in
               law and cannot be supported by a reasonable argument for an extension,
               modification or reversal of existing law; (2) it is undertaken primarily to
               delay or prolong the resolution of the litigation”. 22 N.Y.C.R.R. 130-1.1 (a)
               and (c).


       29.     My extensive attempts to appeal were essential. After the decision by Judge Milin

granting Petitioner a warrant of eviction (Exhibit D), I was facing homelessness and was forced

to exercise every option in the appeals courts (in fact, I was forced to relocate 500-miles away to

Ohio). The United States Court of Appeals for the Second Circuit, New York State Appellate

Division, and New York State Appellate Term courts all declined to hear my appeals without any

discussion of the merits of my arguments.


                               PETITIONER OWES $3,395
                            FOR SECURITY DEPOSIT REFUND

       30.     To this date, I still owe the petitioning landlord no money whatsoever. The

judgment was satisfied in full on February 22, 2016 (Exhibit J).

       31.     In fact rather, Petitioner owes me $3,395 in the form of my security deposit that

they are illegally confiscating. I vacated the apartment on April 6, 2016 and left it in good

condition (Exhibit P).

       32.     A term in the lease allows for security deposits to be used to offset legal fees, but

only if a court order grants legal fees. However, twice before, this Court has denied legal fees.


       33.     Petitioner is not allowed to confiscate my security deposit “just in case” they

might eventually win a frivolous motion in the future.
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                           CORRECTION OF FACTUAL ERRORS
                              IN PETITIONER’S MOTION

       34.     In ¶5, page 2 of the Riegel Affirmation, she wrote, “landlord is unquestionably

the prevailing party”. In fact, the opposite is true. In Judge Hahn’s decision (Exhibit C), it

states that there is “no prevailing party”. In the Judge Milin’s decision (Exhibit D), no mention of

prevailing party is ever made. Moreover, the plenary actions to address my retaliatory eviction

counterclaims, among other things, are ongoing in federal court.

       35.     In ¶6, page 2 of the Riegel Affirmation, she wrote, “Tenant's affirmative

defenses and counterclaims were all summarily dismissed.” That statement is also false. In

fact, both judges declined to hear my most important counterclaims, of retaliatory eviction,

warrant of habitability, inter alia, and instead deferred them to a different court venue for

“plenary action”. Pending in federal court now are decisions on those plenary actions. Therefore,

lawyer Riegel is once again grossly misleading this Court.

       36.     My plenary actions have merit. It is quite likely that Petitioner will be found

guilty of retaliatory eviction, violation of the First Amendment, defamation, inter alia, based on

the 21-page federal decision that has already been issued (Exhibit L). In addition, my federal

complaint is proceeding to trial and was not dismissed, per order on September 30th, 2016

(Exhibit B).

       37.     In ¶10, page 2 of the Riegel Affirmation, she wrote, “Landlord is the owner and

landlord of 200 Rector Place, New York, New York, Apartment 35F”. That is a strategic

intentional misrepresentation to this Court. In fact, lawyer Riegel knows full well that Howard

Milstein, former managing partner of Petitioner Mariners, was ousted in a lawsuit by his partners

(Exhibit M). The new “Landlord and owners” are not part of this instant case that lawyer Riegel

is frivolously reviving.
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       38.     In ¶19, page 4 of the Riegel Affirmation, she wrote, “Judge Hahn further

denied Tenant's motion to dismiss…”, but intentionally omits the most important aspect of the

decision, granting me the right to argue my counterclaims in a different court under “plenary

action”.

       39.     In ¶27, page 5 of the Riegel Affirmation, she wrote, “Judge Milin…denied

Tenant’s motion…”, once again, omitting key parts of the decision granting me the right to

argue my counterclaims in another court venue.

       40.     In ¶59, page 12 of the Riegel Affirmation, she cited case law that defined

“prevailing party”, and quoted Jocar Realty Co. v. Galas, 176 Misc 2d 534, 535- 36, “Judge "[a]

determination of which party is the prevailing party requires an initial consideration of the

true scope of the dispute litigated, followed by analysis of what was achieved within that

scope." However, this case law supports my case more than theirs given that Petitioner is not

“prevailing”, and the ongoing plenary action regarding retaliatory eviction, inter alia, is crucial

to the “true scope of the dispute litigated”

       41.     In ¶61, page 12 of the Riegel Affirmation, she wrote, “The Final Orders granted

Landlord each and every item of relief sought by Landlord. Furthermore, Tenant did not

prevail on any of his affirmative defenses and counterclaims, all of which were dismissed

by the Final Orders.” This is patently false as anyone reading the multiple decisions/orders can

determine upon first glance. My most important arguments were indeed “severed” and set aside

for plenary action, not denied at all.

       42.     Of note, in the affidavit of service filed by lawyer Riegel on September 27, along

with their motion, it states that I was served on September 20. However, that is factually

incorrect. In fact, I was unable to be in New York on their original motion return date of October
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12th, and I was in the middle of email negotiations with lawyer Tilton about scheduling a new

date (Exhibit N). For unknown reasons, the lawyers arrogantly proceeded to file the motion

without telling me. In fact, what they actually filed was not served upon me on September 20,

but rather mailed by FedEx on September 30th (Exhibit O), and only after I alerted them of their

mistake.

       43.     Normally, I would not bother the court with such procedural loopholes. However,

in this case, it is symbolic of a much larger pattern of deception and perjury to this Court.


                                          ARGUMENTS


                                             POINT 1.
                          The motion for legal fees is frivolous,
                              and sanctions should apply

       44.     As mentioned before, the portion of Petitioner’s motion asking for legal fees is

not only frivolous, but also malicious, as defined by 22 N.Y.C.R.R. Subpart 130-1:


             Section 130-1.1, (c) For purposes of this Part, conduct is frivolous if:
             (1) it is completely without merit in law and cannot be supported by a
             reasonable argument for an extension, modification or reversal of existing
             law;
             (2) it is undertaken primarily to delay or prolong the resolution of the
             litigation, or to harass or maliciously injure another; or
             (3) it asserts material factual statements that are false.


       45.     Criteria (c)(1) “without merit” is satisfied in this case. There have been two

previous housing court judge orders/decisions denying legal fees, as well as an Appellate Term

denial, and no appeal attempt was ever made. Therefore, the motion is completely without merit.

       46.     Criteria (c)(2) “frivolous and harassing” is also satisfied. This motion, forcing

me to travel from Ohio to New York at significant cost and time, is clearly harassment. In
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addition, frivolous and harassing debt collection attempts were initiated by Petitioner, which

were then promptly dropped by the collection law firm engaged when I informed them of the

facts (Exhibit K).

       47.     Criteria (c)(3) “factual errors” is satisfied- The motion by Petitioner is replete

with factual errors and intentional omissions meant to mislead this Court.

       48.     Also, this case is not ripe due to federal plenary action proceeding to a jury trial.

Therefore, no “prevailing party” exists, and a prevailing party is required by contract law in the

lease before legal fees can be awarded.

       49.     Even if legal fees could be awarded at this stage, which they cannot, the invoiced

legal fees provided in the lawyers’ exhibits are for incompetent legal work. The legal teams were

clearly running up the charges hoping to bill me in the end. The numerous adjournments asked

for by lawyer Bodoff were meant to inflate his billable hours.

       50.     According to 22 N.Y.C.R.R. 130-1, when lawyers behave in this fashion,

sanctions also apply.

       51.     For those reasons, no legal fees apply in our case. The motion should be

dismissed and sanctions applied against the lawyers.


                                            POINT 2.
                     Petitioner owes $3,395 in security deposit refund
       52.     On April 6, 2016, I vacated the apartment in unit 35F at 200 Rector Place, New

York, New York, 10280, and left it clean and good condition without any damage (Exhibit P).

Petitioner does not dispute this.

       53.     The superintendent of the building, Gus Ouranitsas, made a walk-though with me

and reported no damages. Petitioner does not dispute this.
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       54.     On April 8th, 2016, I email Mr. Ouranitsas and others asking, “When will you be

mailing me back my deposit?”, and I received no reply.

       55.     On April 11th, I emailed lawyer Riegel and she replied:

               “In that you are no longer a resident of the building, the building staff will
               not communicate with you any further, and as I have previously advised,
               all communication must be through my office. With respect to your
               request for the return of your security deposit, until all judgments have
               been satisfied and the court has adjudicated what additional sums, if any,
               are due to my client, the deposit will be held by my client. As you are
               aware, the money judgment issued by Court has not been satisfied, nor
               have my client’s claims for attorneys’ fees as a result of your holding over
               been determined.”

       56.     Riegel’s email above is proof that she has been instructing Petitioner to illegally

withhold my deposit without any court order giving them permission to do so.

       57.     The lease specifies how the security deposit will be handled after departure:


               SECURITY DEPOSIT: …If Tenant carries out all agreements in this
               Lease and moves out of the Apartment and returns it to Owner as and
               when required under this Lease, Owner will return to Tenant the full
               amount of the Security deposit and interest within 60 days after this Lease
               ends. If Tenant does not carry out all agreements in this Lease, Owner
               may keep all or part of the Security and any interest which has not yet
               been paid which are necessary to pay Owner for any losses incurred,
               including missed payments.
               Tenant is not entitled to direct Owner to use the Security for Rent

               If Tenant does not pay Rent on time, or otherwise defaults in the
               observance of any of the terms or conditions of this Lease, then Owner, at
               Owner's sole option, may use the Security to pay for any damages
               suffered, or costs incurred, including attorney’s fees.



       58.     Since I never defaulted on any term of the lease, with no judge decision ever

stating that I have, but rather the lease was not renewed in 2014 as part of an illegal retaliatory

eviction, and since no legal fees were awarded or damages to apartment found, the Petitioner is
    Case 1:15-cv-06119-AJN-JLC Document 242-2 Filed 02/10/17 Page 14 of 19



not allowed to confiscate my security deposit, per this contract law. They cannot hold onto the

deposit “just in case” some legal fees might arise in the future.


                                             POINT 3.
                          I am owed for my expenses incurred
                         defending against this frivolous motion

       60.     22 NYCRR Subpart 130-1 allows for the awarding of expenses incurred while

defending against frivolous and malicious litigation, as well as sanctions. I informed lawyer

Riegel via email that, if she went ahead and filed this motion, it would be frivolous.

Nevertheless, lawyer Riegel rushed forward.

       61.     So far, I have spent approximately $5,000 in time, travel, and other expenses in

defending against this matter. Receipts and invoices cannot be provided at this time since I have

not yet traveled to New York City at the time of the filing of this brief.

       62.     Sanctions are also warranted.


                    I am owed for my expenses incurred defending
                           against frivolous debt collection

       63.     22 NYCRR Subpart 130-1 allows for the awarding of expenses incurred while

defending against frivolous and malicious litigation.

       64.     The flagrantly malicious debt collection stunt pulled by Petitioner’s employees

took more than 10-hours of my valuable time to resolve. I charge $1,000 per hour as a

consultant.

       65.     Sanctions are also warranted.
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                                               POINT 4.
                               Petitioner’s motion for $44,135
                            should be denied until the case is ripe

       66.       This case is not ripe given the ongoing plenary actions proceeding to jury trial in

federal court.

       67.       First of all, the balance of equities tips in favor of the respondent.

       68.       The former managing partner of Petitioner Mariners, Howard Milstein, is a

billionaire and has a pattern of using his immense resources to tie up the courts with extensive

appeals when he loses lawsuits. For example, in Cara Associates v. Milstein. (651726/15

Supreme Court of New York, New York County), Milstein has now lost his appeal in the

Appellate Division, and purely to stall the outcome is attempting to appeal the case further. Legal

fees are of little consequence to him.

       69.       Milstein also does not pay plaintiffs when he loses cases. In Saint-John v.

Emigrant Mortgage Company, 11-CV-2122 (E.D.N.Y), Milstein was the key witness this year in

a federal jury trial against Emigrant bank, which he owns. He was accused of predatory lending

and lost, with a judgment of approximately $1,000,000.00. He has not yet paid that amount.

       70.       Secondly, pursuant to New York Real Property Actions and Proceedings Law

(NYRPAPL) §745(2)(c)(iv) “[u]pon the entry of the final judgment in the proceeding such

deposits (in our case use and occupancy) shall be credited against any judgment amount awarded

and, without further order of the court, be paid in accordance with the judgment”.

       71.       My plenary actions related to this instant case, now in federal court, have strong

merit. It was not dismissed and is proceeding to trial (Exhibit B).
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       72.     Therefore, given the David v. Goliath situation at play in this instant case, the

balance of equities heavily tilts in favor of not releasing the $44,135.00 to Petitioner until all

plenary actions are adjudicated.


                                              POINT 5.
                          Lawyer Riegel must get Court approval
                            before filing any further motions

       72.     Lawyers for Petitioner have recently engaged in a series of malicious and

frivolous litigation, as well as lame attempts at debt collection. Knowing that I live in Ohio and

cannot easily defend myself is likely one motivating factor for their actions. Also, the money

sources to fund this retaliatory eviction conspiracy might have dried up now that Milstein has

been removed as managing partner of Mariners, and the CFO of the BPCA, Robert Serpico, has

“resigned”.

       73.     Defending myself in these matters, then traveling from 500-miles away in Ohio to

court, is a cost burden that I cannot bear.

       74.     No further motions from Petitioner lawyers should be allowed unless first

approved by this Court.
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                                      REQUESTS FOR RELIEF


Respondent Greer begs of this Court to:

         1. Dismiss the motion for legal fees;

         2. Dismiss the motion to extract the $44,135.00 in the city clerk account;

         3. Require the Petitioner to refund respondent’s $3,395.00 security deposit;

         4. Award direct damages to respondent for the costs related to defending against the

             frivolous and malicious motions and debt collection;

         5. Require any future motions from Petitioner to first be approved by this Honorable

             Court;

         6. Apply sanctions on the lawyers for frivolous and malicious litigation;

         7. Any other relief as deemed appropriate by this Court.


__________________________________________________________________

                                         VERIFICATION
State of New York, County of New York ss:

Steven Greer, being duly Sworn, deposes and says: I am the respondent in this proceeding. I have read the
Answer in Writing and know the contents thereof to be true to my own knowledge, except as to those
matters stated on information and belief, and as to those matters I believe them to be true.

Sworn to before me this 12th day of October, 2016
___________________________                                  ___________________________
Notary stamp or signature                                            Steven Greer
For Court Use Only Initial Calendar Date_______ Both Sides Notified _______

CIV-LT-91a (Revised December, 2007)
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CIVIL COURT OF THE STATE OF NEW YORK
COUNTY OF NEW YORK
--------------------------------------------------------------------X
MARINERS COVE SITE B ASSOCIATES,                                         Index No. L&T 63974/2014

                                      Petitioner,
                                                                         AFFIDAVIT OF SERVICE
                   -against-

DR STEVEN GREER
200 RECTOR PLACE 35F
NEW YORK, NEW YORK 10280,

                                      Respondent.
---------------------------------------------------------------------X

         STATE OF NEW YORK                           )
                                                     ) ss.:
         COUNTY OF NEW YORK                          )

         Nataliya Boyko, being duly sworn, says:
         I am not a party to the action; I reside in Brooklyn, New York, and I am over 18 years of
age.
         On the day 17th day of October, 2016, I served the within Notice of Cross-Motion and
documents enclosed therewith by depositing true copies thereof, enclosed in a post-paid wrapper,
in an official depository under the exclusive care and custody of the United States Postal Service
within New York State, addressed to the following at the last known address set forth below:

TO:

Deborah Riegel
ROSENBERG & ESTIS P.C.
733 Third Avenue
New York, New York 10017

                                                                         ______________________________
                                                                                Nataliya Boyko
Sworn to before me
on _____ day of October, 2016

_______________________
NOTARY PUBLIC
  Case 1:15-cv-06119-AJN-JLC Document 242-2 Filed 02/10/17 Page 19 of 19



Index No. L&T 63974/2014
CIVIL COURT OF THE STATE OF NEW YORK
COUNTY OF NEW YORK
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MARINERS COVE SITE B ASSOCIATES,

                           Petitioner,

            -against-

DR STEVEN GREER
200 RECTOR PLACE 35F
NEW YORK, NEW YORK 10280,

                      Respondent.
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   NOTICE OF CROSS-MOTION AND AFFIDAVIT IN OPPOSITION AND SUPPORT OF
                            CROSS-MOTION
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     Service of a copy of the within       is hereby admitted.
     Dated:
                                                           ----------------------------------------
                                                           Attorney(s) for
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     Sir:--Please take notice
     ┌─┐
     └ ┘NOTICE OF ENTRY
     that the within is a (certified) true copy of a
     duly entered in the office of the clerk of the within named court on         , 201
     ┌─┐
     └─┘NOTICE OF SETTLEMENT
     that an order of which the within is a true copy will be presented for
     settlement to the HON. one of the judges of the within named court, at
     one                     20 at           M.
